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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


LA ANTONETTE ANDERSON,

              Plaintiff,                            Case No. 1:15-cv-725
                                                    Hon. Ray Kent
v.

HAWORTH, INC.,

            Defendant.
__________________________________/

                                  AMENDED JUDGMENT

              In accordance with the Order filed this date, an AMENDED JUDGMENT is

hereby entered against Defendant Haworth, Inc. in favor of La Antonette Anderson. This judgment

amends and replaces the Court’s previous judgment (ECF No. 116).

              Plaintiffs are entitled to the following amounts:

              Damages:                       $86,258.00

              Prejudgment interest:          $5,991.26

              Costs:                         $532.36

              Attorney fees:                 $49,537.50

              TOTAL JUDGMENT:                $142,319.12



Dated: January 2, 2019                              /s/ Ray Kent
                                                    United States Magistrate Judge
